          Case 18-24950-JAD                             Doc 12            Filed 01/28/19 Entered 01/28/19 15:17:13                   Desc Main
                                                                         Document      Page 1 of 43
Fill in this information to identify your case:
Debtor 1                    Robert P. Agona
                            First   Name                        Middle Name           Lest Nsme
Debtor 2
(Spouse   Lf,   (ilingl     First Name                          Middle Name           Last Nsma


United States Bankruptcy Court for the:                    WESTERN DISTRICT OF PENNSYLVANIA

Case number               18-24950
(if known)                                                                                                                            Check if this is an
                                                                                                                                      amended filing



Official Form lO6Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                     12115
Be as complete and accurate as possible. If two married people are filing together, bath are equally responsible for supplying correct
Information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

I1                 Summarize Your Assets

                                                                                                                                     Your assets
                                                                                                                                     Value of what you own

 1.    Schedule AIB: Property (Official Form 106N6)
       la. Copy line 55, Total real estate, from Schedule NB                                                                         S                   225,000.00

       lb. Copy line 62, Total personal property, from Schedule NB                                                                   S                    23,703.79

       ic. Copy line 63, Total of all property on Schedule NB                                                                        S                   24L703.79

LRTW               Summarize Your Liabilities

                                                                                                                                     Your liabilities
                                                                                                                                     Amount you owe

 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 1 05D)
       2a. Copy the total you listed in Column A, Amount of claim. at the bottom of the last page of Part 1 of Schedule P...          $                   67,668.02

 3.    Schedule ElF: Creditors Limo Have Unsecured Claims (Official Form 1O6EIF)
       3a. Copy the total claims from Part I (priority unsecured claims) from line 6e of Schedule EF                                  $                    3,467.26

       3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule ElF                              $                   72,228.14


                                                                                                          Your total liabilities S               143,363.42


IflW               Summarize Your Income and Expenses                                                                                           -    -




4.     Schedule!: Your Income (Official Form 1051)
       Copy your combined monthly income from line 12 of Schedule!                                                                    $         --
                                                                                                                                                           3,618.16

5.     Schedule J: Your Expenses (Official Form 106J)
       Copy your monthly expenses from line 22c of Schedule J                                                                                              3,268.48

 •.‘               Answer These Questions for AdminIstratIve and Statistical Records                            .                                ——




6.     Are you filing for bankruptcy under Chapters 7,11, cr13?
            No, You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

       • Yes
7.     What kind of debt do you have?

       •           Your debts are primarily consumer debts. Consumer debts are those Incurred by an individual primarily for a personal, family, or
                   household purpose.” ii U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 26 U.S.C. § 159.

       O    Your debts are not primarily consumer debts, You have nothing to report on this part of the form. Check this box and submit this form to
            the court wilh your other schedules.
 Official Form lo6Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
Software Copyright (c) 1996.2017 Best Case, LLC   -   www teitcase ccm                                                                      Best case Bankmptcy
        Case 18-24950-JAD                         Doc 12             Filed 01/28/19 Entered 01/28/19 15:17:13                           Desc Main
Debtor 1
                                                                    Document      Page 2Case
                                                                                         of 43
                                                                                             number (if
              Robert D. Agona                                       —                                         known) 18-24950                                   I


B.     From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                              $            1,87916


9.     Copy the following special categories of claims from Part 4, line 6 of Schedule ElF:

                                                                                                         Total claim
       From Part 4 on Schedule ElF, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   5                  0.00

       9b. Taxes and certain other debts you owe the government. (Copy line Gb.)                          $        —    467.25

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                  0.00

       ed. Student loans. (Copy line Gf.)                                                                 $                  0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims, (Copy line 6g.)                                                               $                  00
                                                                                                              —




       9f Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)             +$                  0.00


       9g. Total. Add lines 9a through 9f.                                                           S                 3,467.26




Official Form lO6Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                        page 2 of 2
Software copyright (c) 1996-2011 Best case, LLC -www bestcase.com                                                                            Best Case Bankruptcy
             Case 18-24950-JAD                                  Doc 12            Filed 01/28/19 Entered 01/28/19 15:17:13                                       Desc Main
                                                                                 Document      Page 3 of 43
     Fill in this Information to identify your case and this filIng:
     Debtor 1                      Robert D. Agona
                                   F,rst Name                                M’d a Nsmo                      Last Nas
     Debtor 2
     (Scouse ‘I fi                F rat Naive                                Md a Name                       Last   Name

     United States Bankruptcy Court for the:                     WESTERN DISTRICT OF PENNSYLVpNlA

     Case number               8-24950                                                                                                                            C    Check if this is an
                                    -   ——
                                                                                                             —________________________________
                                                                                                                                                                       amended filing



 Official Form 106A/B
 Schedule A/B: Property                                                                                                                                                             12/15
in each category, separately list and describe Items. List an asset only once. if an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. lftwo married people are filing together, both are equally responsible for supplying correct
Information, If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

1fl1T           Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1     Do you own or have any legal or equitable interest in any residence, building, and, or similar property?

       C   No, Go to Part 2.
       • Yes. ere is the properly?




     1 1                                                                            What Is the property? check all that apply
           29 Dolly Avenue                                                                    5ine-famity home
           Street    address. I’ ava;IaNe or other dest’ptp:n
                                                                             -            •                                            Do not deduct secured dams orexempuons Put
                                                                                              Duo I ex o mu Luntt u I oin
                                                                                                                       -
                                                                                                                                       the amount of any secured caims on Schedule U
                                                                                                                                       Creditors Who Have Claims Secured by Pmpeiiy
                                                                                              Condominium or cooperative

                                                                                      C       Manufactured or mob le home
                                                                                                                                       Current value of the        Current value of the
           Jeannefte                            PA      15644-0000_-                          Land                                     entire property?            portion you own?
           city                                 State           ZIP   Code            C investment properly                            -   -   -   $225,000.00            $22500000
                                                                                      C Timeshare
                                                                                                                                       Describe the nature of your ownership interest
                                                                                      C Other                                          (such as fee simple, tenancy by the entireties, or
                                                                                    Who has an Interest in the property? check one     a life estate), if known,
                                                                                     • Debtor 1 only                                   Fee simple                ——                    —




           Westmoreland                                                               C Debtor 2 only
           County
                                                                                      C    Debtor I and Debto’ 2 only
                                                                                      C    At least one of the debtors and another     C Check    if this is community property
                                                                                                                                           see stn ansi
                                                                                    Other Information you wish to add about this Item, such as local
                                                                                    property Identification number:




                                                                                                                                                          r
 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here
Iflt Describe Your Vehicles
                                                                                                                                                      >   L_           $ 225   ‘   00000



Do you own, lease, or have legal or equitable interest In any vehicles, whether they are registered or not? include any vehicles you own that
someone else drives. if you ease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 1 DSkIB                                                                     Schedule NB: Property                                                                       page 1
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                                                                                                                                                  00.0O

          Case 18-24950-JAD                           Doc 12        Filed 01/28/19 Entered 01/28/19 15:17:13                                  Desc Main
   Debtor i        Robert D. Aqona
                                                                   Document      Page 4 of 43
                                                                                                                Case number (if known)    18-24950
 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

     O No
     • Yes


    3 I   Make:       Kia                                      Who has an interest In the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
          Model:      Sedona                                   0   Debtor I only                                       Creditors Who Have Claims Secured by Property
          Year:       2009                -____________
                                                               0   Debtor 2 only
                                                                                                                       current value of the      Current value of the
          Approximate mileage                       142000     0   Debtor 1 and Debtor 2 ony                           entIre property?          portion you own?
          Other information                                    • At least one of the debcrs and another


                                                               0   check ir thIs Is communIty property                          $4,500.00                   $4,500.00
                                                                   (see instructions)


    32    Make:       Cadillac                                 Who has an interest In the property? check one          Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule a
          Model:      ATS         -
                                                               O   Debtor 1 only                                       Creditors Who Have Claims Secured by Property.
          Year:                                                0   Debtor 2 only                                       current value or the      Current value or the
          Approximate mileage                                  0   Debtor 1 and Debtor 2 cnly                          entire property?          portion you own?
          Other information                                    • At east one of the debtos and anotner
                   Lease      -




                                                               0   check If this Is community property                               $0.00                        $0.00
                                                                   (see instructions)



 4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
    Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

    • No
    0 Yes

                                                                                                                                                                  —




  5 Add the dollar value of the portion you own for all of your entries from Part 2, Including any entries for
    pages you have attached for Part 2. Write that number here

ixFIa DescrIbe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                            Current value of the
                                                                                                                                              portion you own?
                                                                                                                                              Do not deduct secured
                                                                                                                                              claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
   ONo
     I Yes. Describe....

                                          See attached list                                                                                                  $2500.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
               including cell phones, cameras, media players, games
   0 No
   • Yes. Describe....

                                      I   Pinball machine                                                                                                   $1,000.00


                                      r4TvS
                                                                                                                                                               $600.00


                                          Computer                                                                          1                                  $250.00

Official Form 1D6NB                                                     Schedule NB: Property                                                                     page 2
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        Case 18-24950-JAD              Doc 12    Filed 01/28/19 Entered 01/28/19 15:17:13   Desc Main




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         Case 18-24950-JAD                            Doc 12            Filed 01/28/19 Entered 01/28/19 15:17:13                 Desc Main
 Debtor 1
                                                                       Document      Page 6 of 43
                    Robert D. Aqona                                                                 Case number (if known)    18-24950


                                        I Printer                                                                                                    $25.00


                                         2iPhones                                                                                                  $200.00


8. CollectIbles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other ad objects: stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
   • No
   C Yes. Describe

9. EquIpment for sports and hobbles
   Examples.’ Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
              musical instruments
   ONo
   • Yes. Descnbe

                                        I Golf clubs                                                                                               $100.00


                                        I Tools                                                                    I                               10p.0g


                                         Treadmill                                                                                                 $250.00


10. Firearms
     Examples: Pislols, rifles, shotguns, ammunition, and related equipment
    • No
    C Yes. Describe

11, Clothes
     Examples: Everyday clothes, furs, leather coats, designer wear. shoes, accessories
    CNo
    • Yes. Describe.....

                                         Everyday iähs’


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry. walches, gems, gold, silver
    CN0
    • Yes. Describe,,..

                                         Wedding band                                                                                              $200.00


                                         Watch                                                                                                     $100.00


13. Non4arm animals
    Examples: Dogs, cats, birds, horses

    I Yes. Describe....

                                                                                                               1
                                         House Cat                                                                                                    $0.00


14. Any other personal and household Items you did not already list, Including any health aIds you did not list
    I No
    C Yes. Give specific information....

Official Form 1 OSNB                                                      Schedule NB: Property                                                       page 3
Software Copright   (CI   1996.2017 Beat case, LLC WVAN.bestcaaa.com
                                                  -                                                                                        Best case Bankruptcy
        Case 18-24950-JAD                         Doc 12            Filed 01/28/19 Entered 01/28/19 15:17:13                   Desc Main
                                                                   Document      Page 7 of 43
 Debtor 1       Robert D. Agona                                                                   Case number (if known)    18-24950


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number hers                                                                                        -   —   —
                                                                                                                                           -    $5,525.00


tFT         Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                       Current value of the
                                                                                                                                   portion you own?
                                                                                                                                   Do not deduct secured
                                                                                                                                   claims or exemptions.

16. Cash
      Examples: Money you have in your waflet, in your home, in a safe deposit box, and on hand when you file your petition
    CNo
    • Yes

                                                                                                      Cash                                             $100.00


17, Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
               institutions. If you have muitipe accounts with the same institution, list each.

    • Yes                                                                  Institution name:


                                     17.1.       JointChecking             PNC                                                                         $893.11


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms money market accounts

    • Yes                                    Institution or issuer name:

                                             CD jointly owned with Mindy Agona                                                                      $7,500.00


19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest In an LLC, partnership, and
    Joint venture
   No
   • Yes. Give specific information about them
                                 Name of entity;                                          % of ownership:

                                        Skis & Nicks Lounge, Inc.                                         50     —                                  Unknown


2D. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes. and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
   • No
   DYes. Give specific information about them
                                Issuer name:

21. Retirement or pension accounts
     Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
   CNo
    • Yes. List each account separately.
                               Type of account:                 Institution name:

                                     IRA                                   EdwardJones                                                              $130


22. Security deposits and prepayments
     Your share of all unused deposits you have made so that you may continue service or use from a company
     Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
    • No
Official Form 106N8                                                   Schedule NB: Property                                                                page 4
Scitwaro copyright 101 1a96-2c17 Best case, LLC www bestcose.com
                                             -                                                                                                 aest case Bankruptcy
         Case 18-24950-JAD                               Doc 12          Filed 01/28/19 Entered 01/28/19 15:17:13                           Desc Main
  Debtor 1
                                                                        Document      Page 8 of 43
                  Robert D. Agona                                                                                Case number (if known)    18-24950
     o Yes                                                                     Institution name or individual:

 23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
     • No
    C Yes                 Issuer name and description.

 24. Interests In an education IRA, in an account In a qualified ABLE program, or under a qualified state tuItion program.
     26 U.S.C. § 530(b)(1), 529A(b), and 529(b)(1).
     • No
     C   Yes                      Institution name and description. Separately file the records of any interests.11 U.S.C.     § 521(c):
 25. Trusts, equitable or future Interests In property (other than anything listed inline 1), and rights or powers exercisable for your benefit
     • No
    C Yes. Give specific information about them...
 26. Patents, copyrights, trademarks, trade secrets, and other Intellectual property
     Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
     • No
     C Yes. Give specific information about them...

 27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
    • No
    C Yes. Gve specific information about them...
 Money or property awed to you?                                                                                                              Current value of the
                                                                                                                                             portion you own?
                                                                                                                                             Do not deduct secured
                                                                                                                                             claims or exemptions.
28. Tax refunds owed to you
     • No
     C Yes. Give specific information about them, including whether you already filed the returns and the tax years


29. FamIly support
     Examples’ Past due or lump sum alimony. spousal support, child support, maintenance, divorce settlement, property settlement
    • No
   C Yes. Give specific information

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disabihty benefits. sick pay. vacation pay, workers’ compensation, Social Security
               benefits: unpaid loans you made to someone else
    • No
    C Yes. Give specific information..
31. Interests in Insurance policies
     Examples: Heaith, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
   CNo
   • Yes. Name the insurance company of each policy and list its value.
                                   Company name:                                            Beneficiary:                                      Surrender or refund
                                                                                                                                              value:

                                          Hartford
                                          Life Insurance
                                          Whole          Life
                                                                                                                                                              $674.98


                                          Mutual Benefit
                                          Homeowner’s insurance                                                                                                  $0.00




Official Form 1 DSNB                                                      Schedule NB: Property                                                                   page 5
Software copyright 101 1995-2017 aest case. iLc   -   wwW bestcaaocom                                                                                 Boat case Bankruptcy
         Case 18-24950-JAD                              Doc 12             Filed 01/28/19 Entered 01/28/19 15:17:13                  Desc Main
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 Debtor I        Robert D. Agona                                                                      Case number (if known)       18-24950


                                          New Era Medicare Supplement
                                          Health        insurance
                                                                                                                                                         $0.90


                                          Envision Prescription
                                          Health        insurance         —    -
                                                                                   -                                                                     $0.00


32. Any interest In property that Is due you from someone who has died
     If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
     someone has died.
    • No
    C Yes. Give specific information..

33. ClaIms against third parties, whether or not you have filed a lawsuit or made a demand for payment
     Examples: Accidents, employment disputes, insurance claims, or rights to sue
    • No
    C   Yes. Describe each claim

34. Other contingent and unliquidated claims of every nature, Including counterclaims of the debtor and rights to set off claims
    • No
   C Yes. Describe each claim
35. Any financial assets you did not already list
    I No
    C Yes. Give specific information.

 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here                                                                                        :              513,678.79


trmta Describe Any Business-Related Property You Own or Have an Interest In. List any real estate In Part 1.

37. Do you own or have any legal or equitable Interest In any business-related property?
   • No. Go 10 Part 6
   C Yes.     Go to ne 35



trmta Describe Any Farm- and commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest irs farmland, list iii— Pal             —




46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       •No GoloParIl.
       C Yes     Go to   ire   47.


iFThta Describe All Property You Own or Have an Interest In That You Old Not list Above

53. Do you have other property of any kind you did not already 115t?
    Examples: Season tickets, country club membership
    • No
    C   Yes. Give specific information


 54.    Add the dollar value of all of your entries from Part 7. Write that number here




Official Form 106NB                                                           Schedule NB: Property                                                       page 6
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           Case 18-24950-JAD                                 Doc 12           Filed 01/28/19 Entered 01/28/19 15:17:13                                  Desc Main
   Debtor 1
                                                                             Document     Page 10 of 43
                 Robert D. Agona                                                                                          Case number (if knswn)   18-24950
  IfliL         List the Totals of Each Part of this Form

   55. Part 1:   Total real estate, line 2
                                                                                                                                                                 $225,000.00
   56. Part 2:   Total vehicles, line £
                                                                                                        -
                                                                                                            -$4500.00
   57. Part 3:   Total personal and household items, line 15                                       —-        $5,525.00
   58. Part4:    Total financial assets, line 36                                                            $13,676.79
   59. PartS:    Total business-related property, line 45                                                        $0.00
   60. Part 6:   Total farm- and fishing-related property, line 52                                               $0.00
   61 Part 7:    Total other property not listed, line 54                                     +                  $0.00
   62. Total personal property. Add lines 56 through 61...                                                  $23,703.79   Copy personal property total
                                                                                                  —-
                                                                                                                                                           -—        g17p3.79
  63. Total of all property on Schedule MS. Add line 55                         +   line 62                                                        -          $248,703.79




Official Form 1 O6NB                                                            Schedule NB: Property                                                                        page 7
5oftwarocop1iht (c) 1995-2011   Best   case,   LLC   -   wsw besteace corn                                                                                    Best   case   Bankruptcy
           Case 18-24950-JAD                     Doc 12        Filed 01/28/19 Entered 01/28/19 15:17:13                                          Desc Main
                                                              Document     Page 11 of 43
 Fill in this Information to identify your case:
 Debtor 1                Robert D. Agona
                         First Namo                      Middle Name                            Last Name
 Debtor 2
 (Spouse if, filing)     First Name                      Middle Name                            Lest Name

 United States Bankruptcy Court for the:           WESTERN DISTRICT OF PENNSYLVANIA

 Case number           18-24950
 (if known)                                                                                                                                        Check if this is an
                                                                                                                                                   amended filing

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                             4116

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule NB: Property (Official Form 106NB) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).
For each Item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount

IflT             identify the Property You Claim as Exempt

 1.   Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
       C   You are claiming state and federal nonbankruptcy exemptions.                   11 U.S.C.   § 522(b)(3)
       • You are claiming federal exemptions.          11 U.S.C.   § 522(b)(2)
 2. For any property you list on Schedule NB that you claim as exempt, fill in the Information below.
      Brief description of the property and line on          current value of the           Amount of the exemption you claim          Specific laws that allow exemption
      Schedule NBthat lists this property                    portion you own

                       H                                     Copy the value from
                                                             Schedule NB
                                                                                            Check only one box for each exemption.

      29 Dolly Avenue Jeannette, PA 15644                          $225,000.00                                          $19,925.00     ii U.S.C. § 522(d)(1)
      Westmoreland County                                   --                -   —




      Line from Schedule NB: 1.1                                                            C      100% of fair market value, up to
                                                                                                  any applicable statutory limit

      2009 Kia Sedona 142000 miles                                       $4,500.00                                       $3,775.00     11 U.S.C.   § 522(d)(2)
      Line from Schedule NB: 3.1                           —-—-.—.____
                                                                                                                    —              —




                                                                                            C      100% of fair market value, up to
                                                                                                  any apphcabie statutory limit

      See attached list                                                  $2,500.00                                       $2,500.00     11 U.S.C.   § 522(dfl3)
      Line from Schedule NB: 6.1                              ——    -    -   ——-      -




                                                                                                  100% of fair market value, up to
                                                                                                  any applicable statutory limit

      Golf clubs                                                             $100.00                                      $100.00      11 U.S.C.   § 522(d)(5)
      Line from Schedule NB: 9.1                                             -




                                                                                                  100% of fair market value, up to
                                                                                                  any applicable statutory limit

      Tools                                                                  $100.00                                      $100.00      11 U.S.C.   § 522(d)(5)
      Line from Schedule NB: 9.2                                    —.   —




                                                                                            C     100% of fair market value, up to
                                                                                                  any applicable statutory limit




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                                page 1 of 2
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                                            -                                                                                                               Best case Bankruptcy
          Case 18-24950-JAD                                  Doc 12             Filed 01/28/19 Entered 01/28/19 15:17:13                                                              Desc Main
   Debtorl
                                                                               Document     Page 12 of 43
                           tO. Agona        -         -      —   —     -           —         —-       -—           —    —      —   -        Casenumberofknown)               18-24860
        Brief description of the property and line on                      Current value ci the                        Amount of the exemption you claim                  Specific laws that allow exemptIon
        Schedule NB that lists this property                               portion you own
                                                                           Copy the value from                         Check only one box for each exemption.
                                                                           Schedule NB
       Everyday clothes                                                                                                                                                   11 U.S.C.        522(d)(3)
       Line from Schedule NB: 11.1                                         —       •—
                                                                                             $200.00                   •                                  $200.00                      §
                                                                                                 -




                                                                                                                       C     100% of fair market value, up to
                                                                                                                             any applicable statutory limit

       Wedding band                                                                                                                                                       11 U.S.C.        522(dfl4)
       Line from Schedule NB: 12.1
                                                                                             $200.00                   •                                  $200.00                      §
                                                                                                                       C    100% of fair market value, up to
                                                                                                                            any applicable statutory limit

       Wedding band                                                                                                                                                       11 U.S.C.
       Line
              Schedule A/B: 12.1
              from
                                                                                             $200.00                                                        $0.00                      §   522(d)(4)
                                                                           —   ------———              -    -   -




                                                                                                                            100% of fair market value, up to
                                                                                                                            any applicable statutory limit

       Watch                                                                                                                                                              11 U.S.C.        522(d)(4)
       Line from Schedule NB: 12.2
                                                                                             $100.00                   •                                  $100.00                      §
                                                                                                                       C    100% of fair market value, up to
                                                                                                                            any applicable statutory limit

       Cash                                                                                                                                                               11 U.S.C.        522(d)(5)
       Line   from   Schedule NB: 16.1
                                                                                             $100.00                   •                                  $100.00                     §
                                                                                             —       —-———                             —             —.               -




                                                                                                                            100% of fair market value, up to
                                                                                                                            any applicable statutory limit

       Joint Checking: PNC                                                                                                                                                11 U.S.C.
       Line    Schedule A/B: 17.1
              from
                                                                                             $893.11                   •                                  $893.11                     §    522(dH5)
                                                                       —                                   —
                                                                                                                                             —                    -   —




                                                                                                                       C    100% of fair market value, up to
                                                                                                                            any applicable statutory limit

       CD jointly owned with Mindy Agona                                                                                                                                  11 U.S.C.
       Line     Schedule NB: 18.1
              from
                                                                                        $7500.00                       •                             $3750.00                         §    522(d115)
                                                                       —       —                      ——




                                                                                                                       C    100% of fair market value, up to
                                                                                                                            any applicable statutory limit

      IRA: Edward Jones                                                                                                                                                   11 U.S.C.        522(d)(12)
      Line from Schedule NH: 21.1
                                                                                        $4,510.70                      •                             $4,510.70                        §
                                                                                                                    C       100% of fair market value, up to
                                                                                                                            any applicable statutory limit

      Hartford                                                                                                                                                            11 U.S.C.        522(d)(7)
      Life    Insurance
                                                                                             $674.98               •                                      $674.98                     §
                                                                                    -                      •—
                                                                                                                                                 .   —_____




      Whole Life                                                                                                   C        100% of fair market value, up to
      Line from Schedule A/B: 31.1                                                                                          any applicable statutory limit

      Electronics                                                                                                                                                         11 U.S.C.        522(dfl3)
      Line    Schedule NB:
              from
                                                                                        $2,075.00                  •                                 $2,075.00                        §
                                                                                         .       —   —
                                                                                                                                       —   —________        .—-   —




                                                                                                                   C        100% of fair market value, up to
                                                                                                                            any applicaWe statutory limit

 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
    • No
      C       Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
              C No
              C      Yes



Official Form 106C                                               Schedule C: The Property You Claim as Exempt                                                                                          page 2 of 2
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            Case 18-24950-JAD                                Doc 12        Filed 01/28/19 Entered 01/28/19 15:17:13                                                Desc Main
                                                                          Document     Page 13 of 43
  Fill In this Information to identify your case:
  Debtor 1                     Robert D. Agona
                              F ret Nre                               M.oc:e Name                           Las: Name
  Debtor 2
   Spouse    f,.rg            First None      —-                      M;dd;e Name         -                 Last Name

  United States Bankruptcy Court for the:                        WESTERN DISTRICT OF PENNSYLVANIA

  Case number            18-24950
  lit knowni                                                                   ‘


                                                                                   —
                                                                                                                                                               C    Checkif this is an
                             ——                         -                                      -                                                                    amended filing

 Official Form 106D
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                            12115
 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct Information.
                                                                                                                                                         If more space
 is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and
                                                                                                                                                            case
 number (If known).
 I. Do any creditors have claims secured by your property?
        C   No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
        • Yes. Fill in all of the information below.

  -.           LIstAll Secured Claims                                                                   —                                 -     —                  -—__________________




  2. List all secured claims. If a cred br has more han or,e secured claim, list the cred,tor separately                 Column A                   column A                    Column C
  for each claim. If more than one creditor has a parlicu!ar claim, list the other creditors in Part 2 As                Amount of claim            Value of collateral         Unsecured
  much as possible, list the daims in alphabetical order according to the cred;tors name.                                Do rct deduct me           that supports this          portion
                                                                                                                         vatue ci collateai         claim                       If any
         PNC     Bank, NA.                                   Describe the_property that secures the claim:              ——   $67,668.02             -.   $225,000.00        —           $0.00
         Creditors Name
                                                             29 Dolly Avenue Jeannette, PA                     “




                                                             15644 Westmoreland County
         The Tower at PNC Plaza                                               -_____________



                                                             Mat the date you file, the claim Is: Check all that
         300 Fifth Avenue
         Pittsburgh, PA 15222                                C   Contingent
         Number, Street,   city. State & Zip Code            C unliquidated
                                                             C Disputed
 Who owes the debt? Check one.                               Nature of lien. Check at that apply.
 • Debtor ¶ only                                             C   An agreement you made (such as mortgage or secured
                                                                  Car loan)
 C     Debtor? on:y
                     .




 C     Debtcr I ans Debtor 2 ony                             C Statutcrj lien (such as tax lien. mechan:c’s en)
 C At east one of the deotors and another                    C Judgment ter, from a lawsu:t
 C Check if this claim relates to a                          • Other (i’icluding a rgnt to offset) Home Equity           Loan
       community debt                                                                                                        -.




 Date debt was Incurred                                             Last 4 digIts of account number             6177    ——        —




   Add the dollar value of your entries In Column A on this page. Write that number here:
   If this Is the last page of your form, add the dollar value totals from all pages.
                                                                                                                                      $67,668.02         1
   Write that number here:                                                                                                            67 668 02
                                                                                                                                          ,..   —




 -.          List Others to Be Notified for a Debt That                       You      Already Listed                                     -__________




 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor In Part 1, and then list the coliection agency here. Simliarly, if you have more
 than one creditor forany of the debts that you listed in Part I, list the additional creditors here. if you do not have additional persons to be notified for any
 debts in Part 1, do not (lii out or submit this page.




Official Form 1 OSD                                         Scheduie 0: Creditors Who Have Claims Seoured by Property                                                               page 1 of 1
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                                                    —
                                                                                                                                                                            Best Case Bankruptcy
         Case 18-24950-JAD                               Doc 12          Filed 01/28/19 Entered 01/28/19 15:17:13                                            Desc Main
                                                                        Document     Page 14 of 43
 Fill in this Infonnation to Identify your case:
  Debtor 1                           Robert D. Agona
                                     F:’st Nr.e                     Midc:e Name                     Lets Name
  Debtor 2
 (Spouso   if   f.l ngl              Fi’si Name          —      Mce Name                            Last Name

 United States Bankruptcy Court far the;                  WESTERN DISTRICT OF PENNSYLVANIA

 Case number                   18-24950
 (if known)
                                                                                                                                                         C   Check if this is an
                                     —______________                                                                                                         amended filing

Official Form W6E/F
Schedule ElF: Creditors Who Have Unsecured Claims                                                                                                                      12115
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPR1ORITY claIms. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule NB: Property (Official Form IOGNB) and On
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), Do not Include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If mare space Is needed, copy the Part you need, fill it out number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report In a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known),

i!stliof Your PRIORITY Unsecured Claims___________________________________________________________________
1. Do any creditors have priority unsecured claims against you?
      C No           Go to Part 2
      • Yes,
 2.   LIst all of your priority unsecured claims, If a creditor has more than one pr.ority unsecured claim, list the aedlor separately for each claim. For each claim listed.
      ident;fy w.jat type of claim it is. Ira daim has both priority and ncnpriohty amounts, list that claim here and show both priority and nonpriority amounts. As much as
      possbe, 1St the claims in alphabetical order according to the cred;tor’s name. If you have more than Iwo priority unsecured claims, fill outlhe continuation Page of
      Part 1. I! more than one creditor holds a particular claim, list the other creditors in Part 3.
      (For an explanation of each type of claim, see the instructions for this form In the instruction booklet)
                                                                                                                            Total claim       Priority               Nonpriorlty
                                                                                                                                              amount                 amount
                Penn Trafford School District                            Last 4 digIts of account number                          $2,367.07          $2,367.07
                Priority creditor’s Name
                P.O. Box 456                                             When was the debt incurred?
                Harrison City, PA 15636
                Number Street City State Zip Code                        As of the date you file, the claim is: check all that apply
       Who Incurred the debt? check one.                                 C cctnt
       I Debtor 1 only                                                   C untiquidated
       C Deotcr 2 only                                                   C Dispule
       C Debtor 1 and Deotor 2 oniy                                      Type of PRIORiTY unsecured claim:
       C At least one of me deotors and another                          C Domestic support obi-gations
       C Check if this claim is for a community debt                     • Taxes and ce’ta:n other debts you owe the government
       is the claim subject to offset?                                   C Claims for death cr persona! injury while you were intoxicated
       •
                No
                                                                         C Other. Specify
       C Yes

                Wostmoreiand County                                      Last4 dIgits ofaccountnumber                         -   $1,100.19    -    $1100.19                       $0.00
                Priority Creditor’s Name
                P.O.      Box 456                                        When was the debt incurred?
                Harrison         city,    PA 15636                  -




                Number Street City State Zip Code                        As of the date you file, the claim Is: check all that apply
       Who Incurred the debt? check one.                                 C Contingent
       • Debtor           1   only                                       C Unliqudaled
       C Debtor 2 only                                                   C Disputed
       C Deotor I and Deotcr 2 c-,ly                                     Type of PRIORITY unsecured claim:

       O At least one of the debtors and another                         C   Domestic support obligations
       C Check If this claim is for a community              debt        I Taxes and cer,an other debts you owe the government
       Is the claim subject to offset?                                   C Claims for deatn or persona: injury while you were intoxicated
       • No                                                              C Other Specify
       C Yes

Official Form lOG ElF                                        Schedule ElF: Creditors Who Have Unsecured Claims                                                               Page i cr4
Sottware Copyright it) 1996.2017 Best case, LLc w.’w beatcase cam
                                                     -                                                              20346                                             Bed case Bankruptcy
         Case 18-24950-JAD                              Doc 12              Filed 01/28/19 Entered 01/28/19 15:17:13                                          Desc Main
                                                                           Document     Page 15 of 43
  Debtor 1     Robert D.Aona                                                     -   -___________                  Case number      (if know)        1824950       —-




jt All of Your NONPRIORITY Unsecured Claims                                                                                                                             -______________




a. Do any creditors have nonpriority unsecured claims against you?
          No You have notning to repo-t in t.nis pan. Submit This form to the court w:th your oTher schedules

      • Yes

 4.   List all of your nonprioHty unsecured claims in the alphabetical order of the credItor who holds each claim. if a creditor has more than one nonpriority
      unsecured claim, list the creditor separately far each claim. For each claim listed. identify what type of claim it is. Do flat list claims already included in Part 1. If more
      than one cred:tor holds a pari-cular claim, ist the other cedtors in Part 3 If you have more man three nonphority unsecured claims fil out the Contnuatian Page of
      Part 2.
                                                                                                                                                                        Total claIm
 41          Citibank, N.A.                                                  Last 4 dIgits of account number        8510                                                           $15,454.35
             Nonpriority Credilcr’s Name
             PC Box 6500                                                     When was the debt Incurred?
             Sioux Falls, SD 57117
           Number Street City State Zip Code                                 As of the date you file, the claim is: Check all that apply
           Who Incurred the debt? Check one.
             • Debtor 1 only                                                 C Contingent
             C Debtor 2 only                                                 •   Unliquidated
             C Debtor 1 and Debtor 2 only                                    C  Disputed
             C At least one of the debtors and another                       Typo of NONPRIORITY unsecured claim;
           C Check If this claim Is for a community                          C   Student loans
           debt                                                              C  Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                                   report as priority claims
             • No                                                            C   Debts to pension on pnoft-sharing piar.s, and other smi an debts
             C Yes                                                           •   otier. Specify   Sears Mastercard


 42          Discover                                                        Last 4 digits of account number        7372                                                  -
                                                                                                                                                                               .


           Nonpriority Creditors Name
           PD Box 3025                                                       When was the debt incurred?                                                  -    -




           New Albany, OH 43054
           Number Street Cty State Zip Code                                  As ol the date you file, the claim Is: Check all that aopiy
           Who incurred the debt? Check one
             • Debtor 1 only                                                 C   Contingent
           C Debtor 2 only                                                   •   un:lquldated
           C Debtor 1 and Debtor 2 only                                      C Disputed
           O At least one of the debtors and another                        Type of NONPRIDRiTY unsecured claim:
           C Check if this claim is for a community                          0   Student loans
           debt                                                              C Obligations arising out of a separaticn agreement or divorce that you did not
           is the claim subject to offset?                                  report as priority claims
           • No                                                              C   Debts to pension or profit-sharing plans, and other similar debts
           0 Yes                                                             •   Other. Specify




Official Form 106 ElF                                          Schedule ElF: CredItors Who Have Unsecured Claims                                                                      Page 2 of 4
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         Case 18-24950-JAD                           Doc 12                 Filed 01/28/19 Entered 01/28/19 15:17:13                                            Desc Main
                                                                           Document     Page 16 of 43
 Debtor I       Robert D. Agppa                                           —         —__________                    Case number (if know)              18-24950      -   -________   —   --   -   -




            Macy’s                                                            Last 4 dIgits of account number        1370                                                           $3767.94
            Nonpriority Creditor’s Name
            P.O. Box 6167                                                     When Was the debt incurred?
            Sioux Falls, SD 57117
            Number Street City State Zip Code                                 As of the date you file, the claim is: Check all that apply
            Who Incurred the debt? Check one.
            • Debtor 1 only                                                       Contingent
            D Debtor 2 only                                                   • Unhquidated
                Debtor 1 and Debtor 2 only                                        Disputed
            O At least one of the debtors and another                         Type of NONPRIORITY unsecured claim:

            0 Check if this claim Is for a community                          0 Student loans
            debt                                                              0 Obligations arising out of a separation agreement or divorce that you did not
            is the claim subject to offset?                                   report as priority claims
            • No                                                              0   Debts to pension or profit.sharing plans, and other similar debts
            0   Yes                                                           • Other. Specify

            PNC Bank, N.A.                                                    Last 4 digits of account number        9926                                                           59,791.82
            Nonp1ority Cred:tcr s Name
            P.O. Box 5570                                                     When was the debt Incurred?
            Brecksville, OH 44104
           Number Street City State Zip Coce                                  As of the date you file, the claim is: Ct’.eck a1 tna: apply
           Who incurred the debt? Check one
            • Debtor 1 only                                                   0 Contingent
            0 Debtor 2 cny                                                    •   Unhquidated
            C Debtor 1 and Debto’ 2 Only                                      C Disputed
            C At least one of the debtors and      another                    Typo of NONPRIORITY unsecured claim:

            C Check If this claim is for a community                          C Stuoent loans
            debt                                                              C Ob:igat.ons arising out or a separation agreement or oivorce tnat you did     not
            Is the claim subject to offset?                                   report as priority claims
            • No                                                              C Debts to pension or profit-sharing plans, and other similar debts
            C   Yes                                                           • Other. Specify

            Synchrony Bank                                                    Last 4 digIts of account number        4281          -                                             $22,300.08
            Nonprior;ty Creoitor’s Name
           P.O. Box 105972                                                    When was the debt incurred?
           Atlanta, GA 30348-5972
            Number Street C;ty State Zio Code                         —       As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Checc one.
            • Debtor     only                                                 C   Contingent

            C Debtor 2 on:y                                                   • Unliquioated
            C Debtor I and Debtor 2 only                                      C  Disputed
            C At least one of ne debtors and another                          Type of NONPRIORITY unsecured claim:

            C Check If this claim is for a community                          C   Student loans
           debt                                                               C  Obligations arising out of a separation agreement or divorce that you did not
           is the claim subject to offset?                                    report as priority claims
            • No                                                              C   Debts to pension or profit.sharing plans, and other similar debts

            C Yes                                                             • Other. Specify     Sam’s Club Mastercard                        -




1FTh1’          List Others to Be NotjfjedAboutaDebtThatYou Already Listed                                                                               ——                 -




5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts I or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor In Parts 1 or 2, then list the collection agency here, Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. if you do not have additional persons to be
   notified for any debts in Parts I or 2, do not fill out or submit this page.

IFTht           Add the Amounts for Each Typo of Unsecured Claim                                                            —                                                           -        -




6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

Official Form 106 ElF                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                                           Page 3 of 4
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                                                                                                                                      __




         Case 18-24950-JAD                         Doc 12            Filed 01/28/19 Entered 01/28/19 15:17:13                                    Desc Main
  Debtor 1
                                                                    Document     Page 17 of 43
               RobertO. Agona                                                                      Case number   (t L”ow)             18-24950_—

                                                                                                                              Total Claim
                        6a.   Domestic support obligations                                          Ba      $    —-                             0.00
         Total
       claims
   from Pan i           Sb.   Taxes and certain otherdebts you owe the government                   Bb.     $                               3,467.26
                        BC.   Claims for death or personal injury while you wore intoxicated        BC.     $    —    -   -—
                                                                                                                                       —        0.00
                        Cd.   Other. Add at other phorJy unsecured ctaims. Wrte nat amount here.    Bd.     5                                   0.00

                        Ce    Total Priority. Add lines Ba through Cd.                              60      $                         —     3,467.26

                                                                                                                              Total Claim
                        6[    Student loans                                                         Cf.     $             —
                                                                                                                                                0.00
         Total
       claims
   from Pan 2           6g.   Obligations arising out of a separation agreement or dtvorce that
                              you did not report as priority claIms                                 6g.     $                              —




                        6h    Debts to pension or profit-sharing plans, and other simIlar debts     Bh.     5                              0.00
                        Ci.   Other. Add at ciher nonpriority unsecured ciaims. Wrte that amount    6i
                                                                                                                                       7222814

                        6j.   Total Nonpriodty.Add lines Cf through Bi,
                                                                                                           r;.                         72,228.14




Official Form 106 ElF                                  Schedule ElF: Creditors Who Have Unsecured Claims                                                      Page 4 of 4
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                                              -
                                                                                                                                                       Best Case Bankruptcy
                Case 18-24950-JAD                         Doc 12         Filed 01/28/19 Entered 01/28/19 15:17:13                      Desc Main
                                                                        Document     Page 18 of 43
 Fill in this Information to Identify your case:
 Debtor 1                      Robed D.Agona                      —
                                                                                                                    -



                               First Nar.e                         4,udle Name          Last Name
 Debtor 2
 (Spuse if fi:)            -   First Name            —            Muto Name             Last Name
                                                                                                                           I
 United States Bankruptcy Court for the:                    WESTERN DISTRICT OF PENNSYLVAMA

 Case number            18-24950
 Wknown)                                —    -

                                                                                                                                        Check if this is an
     -                                               -     -—                   -
                                                                                                                                        amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                       12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.         Do you have any executory contracts or unexpired eases?
           D No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
           • Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/8:Property (Official Form 106 A/B).

2.         List separately each person or company with whom you have the contract or lease. Then state what each contractor lease is for (for
           example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more exampes of executory contracts
           and unexpired leases.


               Person or company with whom you have the contractor lease                   State what the contractor lease Is for
                               Name, Number, Street. City. State and ZtP Code

         2.1     #1 Cochran Leasing                                                          2016 Cadillac MS
                 4520 William Penn Highway                                                   Lease expires April 2019
                 Monroeville, PA 15146




Official Form 1OBG                                       Schedule C: Executory Contracts and Unexpired Leases                                          Page 1 of 1
Software Copyright tc 1996-2017 Best Case, LLC -waw bestcase corn                                                                                Best Case Bankruptcy
           Case 18-24950-JAD                                 Doc 12          Filed 01/28/19 Entered 01/28/19 15:17:13               Desc Main
                                                                            Document     Page 19 of 43
 Fill in this information to identify your case:
 Debtor 1                            Robert 0. Agona
                                    Firs: Na—o                          Vdd’a   Name        Last Name
 Debtor 2
 (Spouse        ‘.   fl’ir;l        Fi’s: Naro                      —   M,ddfo Name         Last home

 United States Bankruptcy Court for the:                        WESTERN DISTRICT OF PENNSYLVANIA

 Case number                      18-24950
 (it   knownl
                                                                                                                                  Q Check if this is an
                                                                                                                                    amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                             12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left Attach the Additional Page to this page. On the top of any Additional Pages, wrIte
your name and case number (II known). Answer every question.

         1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

         • No
         D Yes

         2. WIthin the last 8 years, have you lived In a community property state or terrItory? (Community pmpedy states and tethtodes include
         Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

         • No. Go to line 3.
         C Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


       3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
          in line 2 again as a codebtor only if that person is a guarantor or cosIgner. Make sure you have listed the creditor on Schedule D (Official
          Form 1060), Schedule ElF (Official Form IO6EIF), or Schedule G (Official Form 106G). Use ScheduleD, Schedule ElF, or Schedule G to fill
          out Column 2.

                       Column 1: Your codebtor                                                             Column 2:The creditor to whom you owe the debt
                       Name N’rsber, S’see:. City Stare ar.dZ:P Coca                                       Check all schedules that apply:

                                                                                                           C Schedule D. line
                        Name
                                                                                                           C Schedule ElF, line
                                                                                                           C Schedule G. line
                        Nurrber           Sfreet
                        City                                    State                       ZtP   code


                                                                                                           C Schedule D, line
                        Name
                                                                                                           C Schedule ElF, line
                                                                                                           C Schedule G, line
                        Nurntor           Street
                        City                                    State                       ZtP Code




Official Form laSH                                                                     Schedule H: Your Codebtors                                 Page 1 of 1
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         Case 18-24950-JAD                       Doc 12        Filed 01/28/19 Entered 01/28/19 15:17:13                                               Desc Main
                                                              Document     Page 20 of 43


 Fill in this information to identify your case

 Debtor 1                          Robert D. Agona

 Debtor 2
              itt. i”g)


 United States Bankruptcy Court for the:          WESTERN DISTRICT OF PENNSYLVANIA

 Case number                  18-24950                                                                             Check if this is:
 (It kicwn)
                                                                                                                   C An amended filing
                                                                                                                   C A supplement showing postpetition chapter
                                                                                                                      13 income as of the following date:
 Official Form 1061                                                                                                   MM/DD/YYYY
 Schedule I: Your Income                                                                                                     -—_____________                             -   12115
Be as complete and accurate as possible. If two married people are filing together (Debtor I and Debtor 2), both are equally responsible for
supplying correct Information. If you are married and not filing Jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, wrIte your name and case number (if known). Answer every question.

 Part 1:                  Describe Employment
        Fill in your employment
        Information.                                                  Debtor 1                                              Debtor 2 or non-filing spouse
        If you have more than one job.                                S Employed                                            S Employed
        attach a separate page with              Employment status
        information about additional                                  C Not employed                                        C Not employed
        employers.
                                                 Occupation           Bar/Restaurant Owner                                  Bar/Restaurant Owner
        Include part-time, seasonal, or
        self-employed work.                      Employer’s name      Skis&Nicks Lounge                                     Skis & Nicks Lounge

       Occupation may include student            Employer’s address
       or homemaker, if it applies
                                                                      2035 Rte. 130                                         2035 Rte. 130
                                                                      Jeannette, PA 15644                                   Jeannette, PA 15644

                                                 How tong employed there?         32 years                                                32 years

 Part 2:                  Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write SO in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                               For Debtor I                 For Debtor 2 or
                                                                                                                        -   —.   ..
                                                                                                                                      .     rfjvng spouse

       List monthly gross wages, salary, and commissions (before all payroll
 2.    deductions). If not paid monthly, calculate what the monthly wage would be.                 2.      $          1,079.16              $                  700.00

 3.    Estimate and list monthly overtime pay,                                                     3.     +5                 0.00            .5                  0.00
                                                                                                                                                                    --




 4.    calculate gross Income. Add line 2 ÷ line 3.                                                4.      $       1,079.16                       5        700.00
                                                                                                               —    —   ——       __J        1———       —   —




Official Form 1061                                                          Schedule I:   Your   Income                                                                  page I
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 Debtor I    Robert D. Aqona                                                                            Case number V known)                              18-24950


                                                                                                         For Debtor I                                     For Debtor 2 or
                                                                                                                                                          non-filing spouse
       Copy line 4 here                                                                      4.          $   —
                                                                                                                     -           1,079.16                 5           700.00

 5.    List all payroll deductions:
       5a.   Tax, Medicare, and Social Security deductions                                       5a.     $                           175.00               5             —                             114.00
       5b.   Mandatory contributions for retirement plans                                        5b.     $                             0.00               $    -        ——
                                                                                                                                                                                     —                  0.00
       Sc.   Voluntary contributions for retirement plans                                        5c.     $                                                $
       Sd.   Required repayments of retirement fund loans
                                                                                                                         -


                                                                                                                                     —   .P22.
                                                                                                 Sd.     5                                0.00            5                                                0.00
       Se.   insurance                                                                           5e.     $                                0.00            $                           -




                                                                                                                                                                                                       .




       Sf.   Domestic support obligations                                                        Sf.     $   -
                                                                                                                                          0.00            $   —              -       —            -        000
       5g.   Uniondues                                                                           5g.     5           -                                    S              ,




       5h.   Otherdeductions. Specify:                                                           5h.+    S       -

                                                                                                                     —                    000         +   $                      -        -
                                                                                                                                                                                                  -        0.00
 6.    Add the payroll deductions. Add lines 5a÷5b+5c5d+5e+5f+5g+5h.                         6.         $                                                 $                                           114.00
 7.    Calculate total monthly take-home pay. Subtract lineS from line 4.                    7.         $                            904.16               S                                       586.00
 8.   List all other Income regularly received:
      Ba. Net income from rental property and from operating a business,
              profession, or farm
             Attach a statement for each property and business showing gross
              receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                             Ba.         $                                                $                                                0.00
      8b.     Interest and dividends                                                         Bb.         $           —                    0,00            $                                                0.00
      8c.     Family support payments that you, a non-filing spouse, or a dependent
              regularly receive
              include alimony, spousat support, child support, maintenance, divorce
             settlement, and property settlement,                                            Sc.         $                           0.00                 5        -.                               0.00
      8d.    Unemployment compensation                                                       Bd.         $                           0.00                 $                  —                      0.00
      Be. Social security                                                                    Be.         $                       1,143.00                 $                                       885.00
      Sf.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.

      8g.
             Specify:
             Pension or retirement income
      8h. Other monthly income. Specify:
                                                                                             8f.
                                                                                             8g.
                                                                                                  $
                                                                                                  $
                                                                                             Sh.+ S
                                                                                                                     -       -




                                                                                                                                 ,
                                                                                                                                     --
                                                                                                                                          0,00
                                                                                                                                          0.00
                                                                                                                                          0.00        +
                                                                                                                                                          $
                                                                                                                                                          $
                                                                                                                                                          $
                                                                                                                                                                                     --                    o.oo
                                                                                                                                                                                                           0.00

                                                                                                                                                                                                           0.00

 9.   Add all other income. Add lines 8a÷Sb+Bc+Bd+Be+Bf+Bg+Bh.                                         TZJi                                               Lr:                                         fi85M01

 10. Calculate monthly Income. Add line? + line 9.                                         10.     $
                                                                                                                                          1       $
                                                                                                                                                                        ——                    1        r




                                                                                                                                                                                                           $
                                                                                                                                                                                                               —




                                                                                                                 2,14716                      +               1,471.00                                 ‘
                                                                                                                                                                                                                   3618.16
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
 11. State all other regular contributions to the expenses that you list In Schedule J.
     Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
     other friends or relatives.
     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
     Specify:                                                                                                                  11. +S_                                                                                 p2p
 12. Add the amount In the last column of line 10 to the amount in line 11. The result is the combined monthly income.
     Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
     applies                                                                                                                                                                     12.                  $            3.618.16

                                                                                                                                                                                                      Combined               -




                                                                                                                                                                                                      monthly Income
 13. Do you expect an increase or decrease within the year after you file this form?
     •     No.
     Q     Yes. Explain:




Official Form 1061                                                      Schedule I: Your I “come                                                                                                                    page 2
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  Fill in this information to idenhfy your case:

  Debtor 1                 Robert D. Agona                                                                  Check if this is:
                                                                                                                An amended filing
  Debtor 2
                                                                                                            Q A supplement showing postpetiticn chapter
  (Spouse, if filing)                                                                                           13 expenses as of the following date:
  Un;tedslatesea9krupcyCourtforihe        WESTERN DISTRICT OF PENNSYLVANIA                                           MM/DD1YYYY              -       -    -




 ‘Case number           18-24950                                                                     I
  (If knawn)



  Official Form 106J
  Schedule J: Your Expenses                                                                                                          --_____
                                                                                                                                                                        Ill!
  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
  information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
  number (if known). Answer every question.

Iflte Describe Your Household
1. Is this a Joint case?
        • No. Go to line 2.
        O Yes. Does Debtor 2 live in a separate household?
                  ONo
                  0 Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

  2.    Do you have dependents?         • No
        Do not list Debtor 1 and           m.      Fi:l out this information fcr   Dependent’s relatIonshIp to        Dependent’s                Does dependent
        Debtor 2.                                  each dependent                  Debtor I or Debtor 2               age                        live with you?

        Do not state the                                                                                                                                 No
       dependents        names.


                                                                                                                                                 C Yes
                                                                                                                                                 ONe
                                                                                                                                                 0 Yes
                                                                                                                                                 ONo
                                                                                                                                                 0       Yes
                                                                                                                                                 DNo
                                                                                                                                                 C       Yes
 3.    Do your expenses include                C   No
       expenses of people other than
       yourself and your dependents?           • Y es
ITiW        Estimate Your Ongoing Monthly Expenses                          —______
                                                                                                                       .,_________
                                                                                                                                                               —


 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill In the
 applIcable date.

 Include expenses paid for with non-cash government assistance if you know
 the value of such assistance and have included It on Schedule I: Your Income
 (Official Form 1061.)                                                                                                    Your expenses

 4.    The rental or home ownership expenses for your residence. Include first mortgage
       payments and any rent for the ground or lot.                                                         ‘‘   5                                           0 0.0

       If not included inline 4:

       4a. ReaIestatetaes                                                                                 4&     S                                       291,48
       4b. Property, homeowner’s, or renter’s insurance                                                   40.    S                       -                 0.00
       4c.   Home maintenance, repair, and upkeep expenses                                                4c.    $            —-     —                       50.00
       4d. Homeowner’s association or condominium dues                                                    4d.    $             —-
                                                                                                                                                         —     0.00
 5.    Additional mortgage payments for your residence, such as home equity loans                          5.    S




Official Form 106J                                                  Schedule J: Your Expenses                                                                         page 1
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                                                         Document     Page 23 of 43
 Debtor 1        RcbertD. Agona                                                                        Case number (it known)                    18-24950            —        -—   -




 6.    Utilities:
       Ba.       Electricity, heat, natural gas                                                               6a.   $                                                303.00
       Bb.       Water, sewer, garbage collection                                                             6b.   $                                               165.00
       Bc.       Telephone. cell phone, Internet, satellite, and cable services                               Sc.   $                                                506.00
       Gd.       Other.   Specify:
                                                                                                              Gd.   S            —                -
                                                                                                                                                                       0.00
 7.    Food and housekeeping supplies                                                                          7.   5       —-
                                                                                                                                             -                       800.00
 8.    Childcare and children’s education costs                                                                8.   $            —       -
                                                                                                                                                                -      0.00
 9.    ClothIng, laundry, and dry cleaning                                                                     9.   S                                                100.00
 10.   Personal care products and services                                                                    IC.   S                -                                50.00
 ii.   Medical and dental expenses                                                                            11.   S
 12.   TransportatIon. include gas, maintenance, bus or train fare.
       Do not include car payments.                                                                           12. 5                                                 100.00
 13.   Entertainment, clubs, recreatIon, newspapers, magazines, and books                                     13. 5                                                  25.00
 14.   CharItable contributions and religIous donations                                                       14. $                                                   000
 15.   Insurance.
       Do not include insurance deducted from your pay or included in lines 4 or 20.
       15a, Life insurance                                                                                   15a. $                                                 138.00
       15b. Health insurance                                                                                 15b.   $
                                                                                                                                                                      0.00
       1 5c. Vehicle insurance                                                                               15c. $                                —-
                                                                                                                                                          -           0.00
       1 5d. Other insurance. Specify: Prescription insurance                             —   —
                                                                                                             15d. S         —-
                                                                                                                                                                     40.00
 16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:
                                                                                                              16. S                                                   0.00
 17. Installment or lease payments:                                                                      -




     17a. CarpaymentsforVehicle 1                                                                            17a.   S                                                 0.00
     l7b. Car payments for Vehicle 2                                                                         17b.   S                                                 0.00
       17c.      Other.   Specify:
                                                                                                             17c.   S                                                 0.00
       17d. Other. Specify;                                                                                  17d.   $                                                 0.00
 18.   Your payments of alimony, maintenance, and support that you did not report as
       deducted from your pay on lineS, Schedule!, Your Income (Official Form 1061).           18. $                                                                  0.00
 19.   Other payments you make to support others who do not live wIth you.                         S                                                  -               0.00
       Specify:                                                                                19.
 20.   Other real property expenses not Included in lines 4 or 5 of this form or on Schedule I: Your income.
       2Ca. Mortgages on other property                                                     20a. S                                                                    0.00
       2Gb. Real estate taxes                                                               20b. S                                                                    0.00
       2Cc. Property, homeowner’s, or renter’s insurance                                    2Cc $                                                                     0.00
       20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                                    0.00
       20e. Homeowner’s association or condominium dues                                     20e. $                           -


                                                                                                                                                                      0.00
 21.   Other:Specify:                                                                         21+5                                                                    0,00
 22. Calculate your monthly expenses
     22a. Add lines 4 through 21.                                                                                       $                                     3,268.48
     22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 1OBJ-2                               $
     22c. Add line 22a and 22b. The result is your monthly expenses.                                                    $    —-
                                                                                                                                                              3,268.48
 23. Calculate your monthly net Income.
     23a. Copy line 12 (your combined monthly income) from Schedule I.                                       23a. $                                             3,618.16
     23b. Copy your monthly expenses from line 22c above.                                                    23b. .5                                            3,268.48

       23c.      Subtract your monthly expenses from your monthly income.
                 The result is your monthly net income.                                                      23c                                                    349.68

 24. Do you expect an Increase or decrease In your expenses within the year after you file this form?
       For examp:e, do you expect tot nSh payng for ycur car loan w.tnir, the year or do you expect your mortgage payment to ‘ncrease or cecrease because of a
       modi’,caton to the terms of your mcrigagel
       •
           No.




           Yes.              ‘Explain here: Car insurance, health insurance and vehicle lease are paid by Skis&Nl’cks Lounge.                                                  .




Official Form 106J                                                 Schedule J: Your Expenses                                                                                       page 2
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 Fill in this information to Identify your case:
 Debtor 1                    Robert D.Agona
                             Firs: Name                       ‘AoIa NaT.e             Lest Name
 Debtor 2
  Spouse if, filing)         First Name   —   —               Miodle Name             Lest Name

 United States Bankruptcy Court for the:               WESTERN DISTRICT OF PENNSYLVANIA

 Case number              15-24950
  if known)
                                                                                                                                     C Check if this is an
                                                                                                                                         amended filing



Official Form lO6Dec
 Declaration About an Individual Debtor’s Schedules                                                                                                          12115

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.Ei §S 152,1341,1519, and 3571.


                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

        •       No

        C       Yes. Name of person                                                                               Attach Bankruptcy Petition Preparer’s flotice,
                                                                                                            -—    Declaration, and Signature (Official Form 119)


      under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct

        X is! Robert D. Agona                                                         x
          RobertO. Agona                                                                  Signature of Debtor 2
          Signature of Debtor I

              Date       January 28, 2019                                                 Date




Official Form 1 D6Dec                                       Declaration About an Individual Debtor’s Schedules
Software copyright IC) I 995-2017 Best case, LW. w’Qww basteasa Cam                                                                              Best case Benkruptty
                                                                                                                                                                                        ______




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     Fill in this infoanallon to identify your case:
     Debtor 1                         Robert D, Agona
                                      First Name                       Fiddle Name                        Last Name
     Debtor 2
     (Spouse if, tiling)              Frrst Name                       Middle Name                        Last Name

     United States Bankruptcy Court for the:                     WESTERN DISTRICT OF PENNSYLVANIA

     Case number                  18-24950
     Of known)                             —             —   —

                                                                                                                                                                Check if this is an
 •                                                                                                                                                              amended filing


     Official Form 107
     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                                 4116
 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 Information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
 number (if known). Answer every question.

 LflTI Ghje Details About Your Marital Status and Where You Lived Before

 1.        What is your current marital status?

           S      Married
           C      Not married

 2.        During the last 3 years, have you lived anywhere other than where you live now?

           S      No
          C       Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

            Debtor 1 Prior Address:                                           Dates Debtor 1                Debtor 2 Prior Address:                                Dates Debtor 2
                                                                              lived there                                                                          lived there
3. Within the lasts years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, Calilornia, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

           •      No
          C       Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

     --             Explain the Sources of Your Income                            —     -_____________
                                                                                                                                                 -—   --              —     -   -   —




4.        Did you have any income from employment or from operating a business during this year or the two previous calendar years?
          Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
          if you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.


          •       Yes. Fill in the details.

                                                             Debtor 1                                                                  Debtor 2
                                                             Sources of income                     Gross income                        Sources of income           Gross Income
                                                             Check all that apply.                 (before deductions and              Check all that apply.       (before deductions
                                                                                                   exclusions)                                                     and exclusions)
     From January 1 of current year until                    C Wages, commssions,                               $14,149.92             C Wages, commissions,                    $8,400.00
     the date you flied for bankruptcy:                      bonuses, tips                                                             bonuses, tips
                                                              S Operating a business                                                   • Operating a business



Official Form 107                                                statement of    Financial   AffaIrs for individuals Filing   for   Bankruptcy                                          page 1
software copfrghi          (C)   1096.2017 Beat case, LLC www besicase corn
                                                         .
                                                                                                                                                                          Best case Oankrupicy
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 Debtor 1      Robertpg,qa                                                                                 Case number lFknown)   1!-24950                        ——




6.    Did you receive any other Income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support: Social Security, unemployment.
      and other public benefit payments: pensions; rental income; interest; dividends; money c&lected from lawsuits: royalties: and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

       DNo
       •    Yes. Fill in the details.

                                                   Debtor I                                                        Debtor 2
                                                   Sources of income                Gross Income from              Sources of Income            Gross Income
                                                   Describe below.                  each source                    Describe below.              (before deductions
                                                                                    (before deductions and                                      and exclusions)
                                                                                    exclusions)
 FromJanuary I ofcurrentyearuntil                  Social Security                              $13,716.00         Social Security                      $10,620.00
 the date you filed for bankruptcy:


tPie          List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor l’s or Debtor 2’s debts primarily consumer debts?
      D No. Neither Debtor I nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C.                        §   101(8) as “incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of 56,425 or mare?
                         No,    Go to line 7,
                         Yes    List below each creditor to whom you paid a total of $6425” or mare in one or more payments and the total amount you
                                paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                not include payments to an attorney for this bankruptcy case.
                    ‘Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.
      •     Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                     • No.         Go to line 7.
                     o Yes         List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor, Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor’s Name and Address                              Dates of payment            Total amount          Amount you      Was this payment for
                                                                                                    paid            stIll owe

7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an Insider?
      insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations. such as child support and
      alimony.

      •     No
      0     Yes, List all payments to an insider.
       Insider’s Name and Address                               Dates of payment            Total amount          Amount you      Reason for this payment
                                                                                                    paid            still owe

&     WIthin 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

      •     No
      C     Yes. List all payments to an insider
       Insider’s Name and Address                               Dates of payment            Total amount          Amount you      Reason for this payment
                                                                                                    paid            still owe     Include creditor’s name




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 2
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          Case 18-24950-JAD                       Doc 12            Filed 01/28/19 Entered 01/28/19 15:17:13                                         Desc Main
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 Debtor 1      RobertO. Agona                                                                                     Case number     et known)   18-24950


iuta Identify Legal Actions, Repossessions, and Foreclosures                                                  -




9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

      CNo
      • Yes. Fill in the details.
       Case title                                              Nature of the case               Court or agency                               Status of the case
       Case number
       PNC Bank v. RobertO. Agona                              Mortgage                         Westmoreiand Co. Court of                     C   Pending
       6086-2016                                               Foreclosure                      Common Pleas                                  C   On appeal
                                                                                                                                              • Concluded


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check ail that apply and fill in the details below.

      •     No, Gob line 11.
      C     Yes. Fill in the information below.
       Creditor Name and Address                               Describe the Property                                                Date                           Value of the
                                                                                                                                                                      property
                                                               Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
    • No
    C Yes. Fiii in the details.
       Creditor Name and Address                               Describe the action the creditor took                                Date action was                    Amount
                                                                                                                                    taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another officiai?
      •     No
      C     Yes

Itiiia List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
    • No
    C Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                       Describe the gifts                                          Dates you gave                        Value
       per person                                                                                                                   the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total vaiue of more than $600 to any charity?
    • No
    C Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                   Describe what you contributed                               Dates you                             Value
       more than $600                                                                                                               contributed
       Charity’s Name
       Address (Nunber, Street, city, State and ZIP code)




Official Form 107                                    Statement     of   Financial Affairs for Individuals Filing for Bankruptcy                                            page   3

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                                             -                                                                                                                Boat case Bankruptcy
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 Debtor 1      Robert D. Agona            -____________________________________                            Case number ((known)     18-24950


LFTI(a List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

       •    No
       C    Yes. Fill in the details.
        Describe the property you lost and                  Describe any Insurance coverage for the loss                     Date of your           Value of property
        how the loss occurred                                                                                                loss                                lost
                                                            Include the amount that insurance has paid. List pending
                                                            insurance claims on line 33 of Schedule %‘8: Property.

44t Certain                   Payments or Transfers                                                                                            -




16. WIthin 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

      CNo
      • Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                  Date payment                  Amount of
       Address                                                        transferred                                            or transfer was                payment
       Email or website address                                                                                              made
       Person Who Made the Payment, if Not You
       RobertO Lampl Law Office                                       Attorney Fees & Legal Costs                            11/1118                        54,500.00
       Benedum Trees Building
       223 Fourth Avenue, 4th Floor
       Pittsburgh, PA 15222
       rlampl@lampllaw.com


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

      •     No
      C     Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                  Date payment                  Amount of
       Address                                                        transferred                                            or transfer was                payment
                                                                                                                             made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred In the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    indude gifts and transfers that you have already listed on this statement.
    • No
    C Yes. Fill in the details.
       Person Who Received Transfer                                   Description and value of                 Describe any property or            Date transfer was
       Address                                                        property transferred                     payments received or debts          made
                                                                                                               paid in exchange
       Person’s relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
    • No
    C Yes. Fill in the details.
       Name of trust                                                  Description and value of the property transferred                        Date Transfer was
                                                                                                                                               made




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 Debtor 1       Robert 0. Agona                                                                                             Case number (Uknown)    18-24950


ItFTil:        List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units                                  —   -   —           —




20. Within 1 year before you filed br bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    include checking, savings, money market, or other financial accounts; certificates of deposit; shares In banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and otherfinanclal institutions.
    • No
    C Yes. Fill In the details.
       Name of Financial Institution and                               Last 4 digits of               Type of account or              Date account was             Last balance
       Address (Number, Street, city, state and ZIP                    account number                 instrument                      closed, sold,            before closing or
       codel                                                                                                                          moved, or                         transfer
                                                                                                                                      transferred

21.   Do you now have, or did you have within 1 year before you flied for bankruptcy, any safe deposit box or other depository for securities,
      cash, or other valuables?

       •     No
      o      Yes. Fill in the details.
       Name of Financial Institution                                         Who else had access to it?                     Describe the contents              Do you still
       Address (Number, Street, City, State and ZIP codel                    Address (Number, Street. city,                                                    have it?
                                                                             State and ZIP code)

22.   Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

      •      No
      o      Yes. Fill in the details.
       Name of Storage Facility                                              Who else has or had access                     Describe the contents              Do you still
       Address (Number, Street,          city, State and ZIP   Code)         to it?                                                                            have it?
                                                                             Address (Number, Street, city,
                                                                             State and ZIP codei

IFTh           Identify Property You Hold or Control for Someone Else                                                                 -




23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

      •      No
      C      Yes. Fill in the details.
       Owner’s Name                                                          Where is the property?                         Describe the property                            Value
       Address (Number, Street,          city,   state and ZIP Code)         iNumber, Street, city, State and ZIP
                                                                             codei

IT(’ Give Details About Environmental information

For the purpose of Pan 10, the following definitions apply:

•     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, Including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
I     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize It, including disposal sites.
•     Ha2ardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term,

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

      I      No
      C      Yes. Fill in the details.
       Name of site                                                          Governmental unit                                 Environmental law, if you       Date of notice
       Address (Number, Street, City, State and ZIP            code)         Address (Number, Street,     City, State end      know it
                                                                             ZIP code)



Official Form 107                                              Statement of Financial Affairs for individuals Filing for Bankruptcy                                           page 5

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                                                      -                                                                                                          Best Case Oankruptcy
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 Debtor 1        Robert D. Agona                           —__________________                                        Case number   (/ known)   18-24950


25. Have you notified any governmental unit of any release of hazardous material?

        I    No
        o    Yes. Fill In the details.
        Name of sIte                                                       Governmental unit                             Environmental law if you          Date of notice
        Address (Number, Street, City. State and ZIP Code)                 Address (Number, Street, City, State and      know it
                                                                           ZIP Code)

26. Have you been a party in any Judicial or administrative proceeding under any environmental law? Include settlements and orders.

        •    No
        0    Yes. Fill In the details.
        Case Title                                                         Court or agency                            Nature of the case                   Status of the
        Case Number                                                        Name                                                                            case
                                                                           Address (Number, Street, City,
                                                                           State and ZIP code)

Iflii Give Details About Your Business or Connections to Any Business                                                                              -




27. WithIn 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
             0   A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
             CA member of a limited liability company (LLC) or limited liability partnership (LLP)
             C   A partner in a partnership
             • An officer, director, or managing executive of a corporation

             • An owner of at least 5% of the voting or equity securities of a corporation

        C    No. None of the above applies. Go to Part 12.
        •    Yes. Check all that apply above and fill in the details below for each business.
        Business Name                                                Describe the nature of the business                  Employer Identification number
        Address                                                                                                           Do not Include Social Security number or 1TIN.
        (Number. Street, City State end ZIP Codei                    Name of accountant or bookkeeper
                                                                                                                          Dates business existed
        Skis & Nicks Lounge, Inc.                                     Bar/Restaurant                                      EIN:      25-1 535616
        2035 Rte. 130
        Jeannette, PA 15644                                                                                               From-To      1986- Present


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    Institutions, creditors, or other parties.

        •    No
      C      Yes. Fill in the details below.
        Name                                                         Date Issued
        Address
        (Number, Street      city,   State and ZIP Code)

LFlitfra Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud In Connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. § 152, 1341,1519, and 3571.

 Is? Robert D. Agona
 Robert D, Agona                                                               Signature of Debtor 2
 Signature of Debtor I

 Date
                                                                               Date
            January         28,      2019




Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
• No

Official Form 107                                            Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        pageS
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                                                      -                                                                                                     Best Case Bankruptcy
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 Debtor 1      Robert D.Agona                                                                               Case number it/mown)   18-249S0   —




D Yes
Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
• No
    Yes. Name of Person                  Attach the Sankruptcy Petition Prepare?s Notice. Declaration, and Signature (Official Form 119).




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                                               -                                                                                                  Best Case BanI<ruptcy
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 Fill in this information to identi, your case:                                                             Check as directed in lines 17 and 21:
 Debtor 1                      RobertO. Agona                                                                  According to the calculations required by this
                                                                                                               Statement:
 Debtor 2                                                                                                      •
 (Spouse,   if   filingl                                                                                               1. Disposable income is not determined under
                                                                                                                          11 U.S.C. § 1325(b)(3).
 United States Bankruptcy Court for the:             Westem District of Pennsylvania                           C       2. Disposable income is determined under 11
                                                                                                                          u.s.c. § 1325(b)(3).
 case number                   18-24950
 (fk”owrl                  —




                                                                                                               •       3. The commitment period is 3 years
                                                                                                               C       4-The commitment period is 5 years.
                                                                                                                C check if this is an amended filing
Official Form 1220-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known).

                  _lculateoAverage Monthly income

   1. What is your marital and filing status? check one only.
      C Not married. Fill out coiumn A, lines 2-11.
       • Married. Fill out both Columns A and B, lines 2-11.

    Fill in the average monthly income that you received from all sources, derived during the S full months before you file this bankruptcy case. 11 U.S.C. §
    101 (bA). For example, if you are filing on September15, the 8-month period would be March 1 through August31. If the amount of your monthly income varied during
    the 6 months, add the Income for all 6 months and divide the total by 6. Fill in the result. 00 not Include any Income amount more than once. For example, if both
    spouses own the same rental property, put the Income from that property In one column only. If you have nothing to report for any line, write $0 In the space.
                                                                                                      Column A                  Column B
                                                                                                      Debtor I                  Debtor 2 or
                                                                                                                                non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                              $                        1179.16         5            700,00
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                            5                               0.00     5                0,00
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, Including child support. Include regular contributions
       from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Do not include payments from a spouse. Do not include payments                                     n
     you listed on line 3.                                                                            $                U.UU     $
  5. Net income from operating a business,
       profession, or farm                                               Debtor 1
       Gross receipts (before all deductions)                                —-__0.00
     Ordinary and necessary operating expenses               -s     0.00     —




     Net monthly income from a business, profession, or farm S      0.00                Copy here ->5           —      0.00     S        -   —   0.00
  6. Net income from rental and other real property        Debtor I
     Gross receipts (before all deductions)                   $     0.00
     Ordinary and necessary operating expenses               4      0.00
     Net monthly income from rental or other real property          0.00                Copy here as               —   0.00     5                0.00    —




Official Form 1 22C-1                Chapter 13 Statement of Your current Monthly income and calculation of Commitment Period                                  page 1
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                                                -                                                                                                   Best case Bankruptcy
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 Oebtorl       RobertO. Aqona                                                                           Case number (if known)       18-24950


                                                                                                    Column A                         Column 8
                                                                                                    Debtor I                         Debtor 2 or
                                                                                                                                     non4lllng spouse
   7. Interest, dividends, and royalties                                                            $                     0.00       $           0.00
   8. Unemployment compensation                                                                     $                     0.00       5          0.00
       Do not enter the amount if you contend that the amount received was a benefit under
       the Social Security Act. Instead, list it here:
          For you                  ,,,,,



                                                                           1,143.00
          For your spouse                                  $        ...   —— 885.00
                                                                               —-   -




   9. Pension or retirement income. Do not include any amount received that was a
       benefit under the Social Security Act.                                                       5                     0.00       $          0.00
   10. income from all other sources not listed above. Specify the source and amount.
       Do not include any benefits received under the Social Security Act or payments
       received as a victim of a war crime, a crime against humanity, or international or
       domestic terrorism, If necessary, list other sources on a separate page and put the
       total below.
                                                                                                    5                     0.00       5          0.00
                                                                                                    S                     0.00       $          0.00
                   Total amounts from separate pages, if any.                                  +    $   —                 0.00
                                                                                          ----                   -


   11. Calculate your total average monthly income. Add lines 2 through 10 for
       each column. Then add the total for Column A to the total for Column B.             $        ‘‘‘‘°‘       ‘°   .   + S                                  1,879.16
                                                                                                                                 —


                                                                                                                                                          Total avarage
                                                                                                                                                          monthly Income
IFflê            Determine How to Measure Your Deductions from Income

   12. Copy your total average monthly Income from line 11.                                                                                      S             1,879.16
   13. Calculate the marital adjustment Check one:
       C You are not married. FillinG below.
       C       You are married and your spouse is filing with you. Fill in 0 below.
       •      You are married and your spouse is not filing with you.
              Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you or your
              dependents, such as payment of the spouse’s tax liability or the spouse’s support of someone other than you or your dependents.
              Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary, list additional
              adjustments on a separate page.
              If this adjustment does not apply, enter 0 below.
                                                                                          $
                                                                                          $
                                                                                          +5

                     Total                                                                 $   ____      —

                                                                                                             -   .9:99          copy here>           -                  0.00


  14. Your current monthly income. Subtract line 13 from line 12.                                                                                S       —.    1,879.16

  15. Calculate your current monthly income for the year. Follow these steps:
           iSa. Copylinei4here’                                                                                                                                1,879.16

                 Multiply line iSa by 12 (the number of months in a year).                                                                               x 12

           1 5b. The result is your current monthly income for the year for this part of the form




Official Form 122C-i           Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                               page 2
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 Deblorl       Robert D. Agona                                                                       Casenumberiirbnownl    18-24950


   16. Calculate the median family income that applies to you. Follow these steps:
        16a. Fill in the state in which you live.                             PA

        1Gb, Fill in the number of people in your household.                      2
       i6c. Fill in the median family income for your state and size of household                                                             5                   35.00
            To rind a list of applicabe median income amounts, go online using the link specified in the separate                                 -—




            instructions for this form. This list may also be available at the bankruptcy clerk’s office.
   17. How do the lines compare?
        17a.       •     Line lSb is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under
                         II U.S.C. § 1325(b) (3). Go to Pan 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 1 22C-2).
        17b.             Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under 11 U.S.C. §
                         1325(b) (3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C-2). On line 39 of that form, copy
                         your current monthly income from line 14 above.
i1Th’           CalculateYourCommitmentperiod Under 11 U.S.C.                 §   1325(b)(4)

 18. Copy your total average monthly income from line 11                  .                    .                                      $                           1,879.16
 19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you
     contend that calculating the commitment period under 11 U.S.C. § 1 325(b)(4) allows you to deduct part of your
     spouse’s income, copy the amount from line 13.
     19a. if the marital adjustment does not apply, fill in Don line 19a.                                                            -s                                  0.00


        19b. Subtract line 19a from line 18.                                                                                              5       —   -   —    1879.16
                                                                                                                                                      —




 20. Calculate your current monthly income for the year. Follow these steps:
        20a. Copy line 19b                                                                                                                    51,879.16

               Multiply by 12 (the number of months in a year).                                                                                    x 12
                                                                                                                                                  —

                                                                                                                                                                               fl
                                                                                                                                                                    -


                                                                                                                                                                          ..




        2Db. The result is your current monthly income for the year for this part of the form                                                 5           22,549.92




        20c. Copy the median family income for your state and size of household from line 16c


        21. How do the lines compare?

               •       Line 20b is less than line 2Cc. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3. The commitment
                       period is 3 years. Go to Part 4.

               D       Line 2Db is more than or equal to line 2Cc. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 4, The
                       commitment period is 5 years. Go to Part 4.

IFTht          Sign Below
        By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.

    X      Is! RobertO. Agona
           Robert D. Agona
           Signature of Debtor 1
        Date January 28, 2019
               MMIDD IYYYY
        if you checked 1 7a, do NOT fill out or file Form 1 22C-2.
        If you checked 1 7b, fill out Form 1 22C-2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.
                                                                                                                                                                               -




Official Form 1 22C-1            Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                               page 3
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                                               .                                                                                                              Best case Bankruptcy
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 201 0)


                                                                                                     chapter 7;         Liquidation
 This notice is for you if:
                                                                                                             $245      filing fee
         You are an individual filing for bankruptcy,
         and                                                                                                  $75      administrative fee

         Your debts are primarily consumer debts.                                                    +        $15      trustee surcharge
         Consumer debts are defined in ii U.S.C.
         § 101(8) as ‘incurred by an individual                                                              $335      total fee
         primarily for a personal, family, or
         household purpose.”                                                                         Chapter 7 is for individuals who have financial
                                                                                                     difficulty preventing them from paying their debts
                                                                                                     and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                                       property to be used to pay their creditors. The
 individuals                                                                                         primary purpose of filing under chapter 7 is to have
                                                                                                     your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                              relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy code:                                                  many of your pre-bankruptcy debts. Exceptions exist
                                                                                                     for particular debts, and liens on property may still
         chapter 7            -   Liquidation                                                        be enforced after discharge. For example, a creditor
                                                                                                     may have the right to foreclose a home mortgage or
         chapter ii               -   Reorganization                                                 repossess an automobile.

         Chapter 12- Voluntary repayment plan                                                        However, if the court finds that you have committed
                    for family farmers or                                                            certain kinds of improper conduct described in the
                    fishermen                                                                        Bankruptcy Code, the court may deny your
                                                                                                     discharge.
         Chapter 13- Voluntary repayment plan
                    for individuals with regular                                                     You should know that even if you file chapter 7 and
                    income                                                                           you receive a discharge, some debts are not
                                                                                                     discharged under the law. Therefore, you may still
                                                                                                     be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                                       most taxes;
 chapter.
                                                                                                         most student loans;

                                                                                                         domestic support and property settlement
                                                                                                         obligations;




Notice Required by Ii          u.s.c. § 342(b) for Individuals   Filing for Bankruptcy (Form 2010)                                                       page I
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                                                   .
                                                                                                                                             Best Case Bankruptcy
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        mast fines, penalties, forfeitures, and criminal                                           your income is more than the median income for your
        restitution obligations; and                                                               state of residence and family size, depending on the
                                                                                                   results of the Means Test! the U.S. trustee! bankruptcy
        certain debts that are not listed in your bankruptcy                                       administrator, or creditors can file a motion to dismiss
        papers.                                                                                    your case under § 707(b) of the Bankruptcy Code. If a
                                                                                                   motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                               be dismissed. To avoid dismissal, you may choose to
                                                                                                   proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                            Code.

        fraud or defalcation while acting in breach of                                             If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                                        the trustee may sell your property to pay your debts!
                                                                                                   subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                               of the proceeds from the sale of the property. The
                                                                                                   property, and the proceeds from property that your
        death or personal injury caused by operating a                                             bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                                       entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                                     enable you to keep your home, a car, clothing, and
                                                                                                   household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                             the property i5 sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                                Exemptions are not automatic. To exempt property,
 You must file Chapter 7 Statement of Your Current                                                 you must list it on Schedule C: The Property You Claim
 Monthly Income (Official Form 122A—1) if you are an                                               as Exempt (Official Form 1OSC). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                            property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                               proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form!                                           Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A—2).
                                                                                                                $1,167    filing fee
 If your income is above the median for your state! you
 must file a second form —the Chapter 7 Means Test                                                    +          $550    administrative fee
 Calculation (Official Form 1 22A—2). The calculations on
                                                                                                                $1,717    totalfee
 the form— sometimes called the Means Test—deduct
 from your income living expenses and payments on
                                                                                                   Chapter 11 is often used for reorganizing a business.
 certain debts to determine any amount available to pay
                                                                                                   but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                                   chapter 11 are too complicated to summarize briefly.




Notice Required by 11    u.s.c. § 342(b) for       Individuals Filing for Bankruptcy (Form 2010)                                                             page 2
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                                               .                                                                                                Best caso Bankruptcy
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        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
             or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. § 152, 1341, 1519, and 3571.
                                                                                                -     -




                                                                                                Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                          to repay your creditors all or part of the money that
             farmers or fishermen                                                               you owe them, usually using your future earnings. If
                                                                                                the court approves your plan, the court will allow you
                                                                                                to repay your debts, as adjusted by the plan, within 3
                   $200        filing fee                                                       years or 5 years, depending on your income and other
 +                  $75         administrative fee                                              factors.
                   $275        total fee
                                                                                                After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                       many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                       not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                         pay include:
 are not paid.
                                                                                                       domestic support obligations,

                                                                                                       most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                                  certain taxes,
             income
                                                                                                       debts for fraud or theft,

                   $235       filing fee                                                               debts for fraud or defalcation while acting in a
 +                  $75       administrative fee                                                       fiduciary capacity,
                   $310       totalfee
                                                                                                       most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                                   certain debts that are not listed in your
 installments over a period of time and to discharge                                                   bankruptcy papers.
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                               certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                          personal injury, and

                                                                                                       certain long-term secured debts.



Notice Required by II U.S.C.     § 342(b) for Individuals   Filing for Bankruptcy (Form 2010)                                                            page 3
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                                                                                                  A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                                   together—called a joint case. If you file a joint case and
                                                                                                  each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                           bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                                mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                             unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                          each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                                    Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                              credit counseling agencies

 For more information about the documents and                                                     The law generally requires that you receive a credit
 their deadlines, go to:                                                                          counseling briefing from an approved credit counseling
 http://www.uscourts.qov/bkforms/bankruptcy form                                                  agency. 11 U.S.C. § 109(h). If you are filing a joint
 s. html#proced ure.                                                                              case, both spouses must receive the briefing. With
                                                                                                  limited exceptions, you must receive it within the 180
                                                                                                  days before you file your bankruptcy petition. This
 Bankruptcy crimes have serious consequences                                                      briefing is usually conducted by telephone or on the
                                                                                                  Internet.
         If you knowingly and fraudulently conceal assets
         or make a false oath or statement under penalty                                          In addition, after filing a bankruptcy case, you generally
         of perjury—either orally or in writing—in                                                must complete a financial management instructional
         connection with a bankruptcy case, you may be                                            course before you can receive a discharge, If you are
         fined, imprisoned, or both.                                                              filing a joint case, both spouses must complete the
                                                                                                  course.
         All information you supply in connection with a
         bankruptcy case is subject to examination by the                                         You can obtain the list of agencies approved to provide
         Attorney General acting through the Office of the                                        both the briefing and the instructional course from:
         U.S. Trustee, the Office of the U.S. Attorney1 and                                       http://iustice.gov/usueo/hapcpa/ccde/cc approved.html
         other offices and employees of the U.S.
         Department of Justice.
                                                                                                  In Alabama and North Carolina, go to:
 Make sure the court has your mailing address                                                     http:l/www. uscourts gov/Federa ICourts/Ban kru ptcy/
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 The bankruptcy court sends notices to the mailing                                                And De btCou nselors. aspx.
 address you list on Voluntary Petition for Individuals
 Filing forBankruptcy (Official Form 101). To ensure                                              If you do not have access to a computer, the clerk of
 that you receive information about your case,                                                    the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                          the list.
 of any changes in your address.




Notice Required by II     u.s.c. § 342(b)   rot individuals Filing for Bankruptcy (Form   2010)                                                            page 4

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                                                                   Document     Page 39 of 43
                                                               United States Bankruptcy Court
                                                                    Western District of Pennsylvania
      In re       Robert D. Mona                                                                                      Case No.       18-24950
                                                                                    Debtor(s)                         Chapter        13

                             DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
          Pursuant to II U S.C. * 329(a) and Fed. Bankr. P.2016(b). I certify that I am the attorney for the above named debtor(s) and that
          compensation paid to me vithin one year before the filing of the petition in bankruptcy. or agreed to be paid to me, for services rendered or to
          be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
                  For legal services, I have agreed to accept                                                   S                —    4,000.00
                  Prior to the filing of this statement I have received                                         $                     4000.00
                  Balance Due                                                                                   S                          000
 2.       The source of the compensation paid tome was:
                  I Debtor           D    Other (specify):

 3.       The source of compensation to be paid to me is:
                  S Debtor           D    Other (specify):

 4.           D Ihave not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

              • I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
                copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.       -




 5.           In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

          a.    Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy:
          b.    Preparation and filing of any petition, schedules. statement of affairs and plan which may be required;
          c.    Representation of the debtor at the meeting of creditors and conlirmation hearing, and any adjourned hearings thereof:
          d.    [Other provisions as neededj
                     Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                     reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to ii USC
                     522(f)(2)(A) for avoidance of liens on household goods.

 6.       By agreement with the debtor(s), the above-disclosed fee does not include the following service:
                  Representation of the debtors in any dischargeabllity actions, judicial lien avoidances relief from stay actions or
                  any other adversary proceeding.
                                                                           CERTIFICATION                                                                                 p
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment tome for representation of the debtor(s) in
 this bankruptcy proceeding.

        January 28, 2019                                                          is/RobertO Lampl
        Date                                                                      RobertO Lampl 19809
                                                                                  Sigitaiu;’e ofAttaiiiey
                                                                                  RobertO Lampl Law Office
                                                                                  Benedum Trees Building
                                                                                  223 Fourth Avenue, 4th Floor
                                                                                  Pittsburgh, PA 15222
                                                                                  412-392-0330 Fax: 412-392-0335
                                                                                  rlampllampllaw.com
                                                                                                                 -.




                                                                                  Name of law firm




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                                                                      United States Bankruptcy Court
                                                                        Western District of Pennsylvania
    In re      Robert ID. Agona                                                                            Case No.   18-24950
                                                                                       Debtor(s)           Chapter    13



                                                   VERIFICATION OF CREDITOR MATRIX


  The above-named Debtor hereby verifies that the attached list of creditors is true and correct to
                                                                                                    the best of his/her knowledge.


   Date:      January 28, 2019                                              Is! Robert D. Agona
                                                                            Robert ID. Agona
                                                                            Signature of Debtor




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                      #1 Cochran Leasing
                      4520 William Penn Highway
                      Monroeville, PA 15146

                      Citibank, N.A.
                      PD Box 6500
                      Sioux Falls, SD 57117

                      Discover
                      P0 Box 3025
                      New Albany, OH 43054

                      Macy’ 5
                      P.O. Box 6167
                      Sioux Falls, SD 57117

                      Penn Trafford School District
                      P.O. Box 456
                      Harrison City, PA 15636

                     PNC Bank, N.A.
                     The Tower at PNC Plaza
                     300 Fifth Avenue
                     Pittsburgh, PA 15222

                     PNC Bank, N.A.
                     P.O. Box 5570
                     Brecksville, OH 44104

                     Synchrony Bank
                     P.O. Box 105972
                     Atlanta, GA 30348—5972

                     Wescmoreland County
                     P.O. Box 456
                     Harrison City, PA 15636
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     EMPLOYEE INCOME RECORD
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